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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


 DR. KAROLINA BUCCINI KENNEDY,
                Plaintiff,                               CIVIL ACTION FILE
 v.                                                      NO. 1:09-cv-1015-RWS
 CAROLINE KENNEDY SCHLOSSBERG,
 et. al.,
                Defendants.


                                       JUDGMENT

       This action having come before the court, Honorable Richard W. Story, United

States District Judge, for a frivolity determination, it is

       Ordered and Adjudged that this action be DISMISSED WITHOUT PREJUDICE

pursuant to 28 U.S.C. §1915(e)(2)(B).

       Dated at Atlanta, Georgia this 9th day of February, 2010.


                                                    JAMES N. HATTEN
                                                    CLERK OF COURT


                                               By: s/Amanda Querrard
                                                     Deputy Clerk


Prepared and Entered
In the Clerk's Office
    February 10, 2010
James N. Hatten
Clerk of Court

By: s/Amanda Querrard
      Deputy Clerk
